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                 Exhibit 8
REDACTED VERSION OF DOCUMENT SOUGHT TO BE FILED UNDER SEAL
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                                          March 1, 2021



VIA E-MAIL


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       Re:     In re Facebook, Inc. Consumer Privacy User Profile,
               Northern District of California Case No. 3:18-md-02843-VC

Dear Counsel:

       Plaintiffs write pursuant to the April 1, 2020 Stipulation and Order on Discovery Dispute
Resolution Procedures (Dkt. No. 393) to request that the parties meet and confer regarding
Facebook’s failure to produce all data and information in Facebook’s possession relating to the
Named Plaintiffs in this action.

         First, in the data deposition of Facebook conducted on February 23, 2020, the Company
testified that Facebook obtains data from third parties about users’ off-platform activity that is
not included in data downloaded from the DYI tool. For example,
                                             Papamiltiadis Dep. at 98:21-24. Facebook also
testified that
    . Id. at 140:16-19, 141:21-143:17. Facebook further testified that

                                                       Id. at 38:11-39:14. Additionally,
                                                                e.g., FB-CA-MDL-01434884;
FB-CA-MDL-01434885.

      Given Facebook’s testimony and representations, Plaintiffs renew their request that
Facebook supplement their production of all data and information relating to the Named
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Gibson Dunn & Crutcher LLP                                    KELLER ROHRBACK L.L.P.
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Plaintiffs as required by Discovery Order No. 9. Please produce these documents no later than
April 1, 2021.

        Second, consistent with Schedule B of Plaintiffs’ Amended 30(b)(6) Notice, prior email
correspondence before the depositions, requests during meet and confers before the depositions,
and requests during the depositions on Feb. 23 and Feb. 24, Plaintiffs renew their request for all
materials each designee reviewed in preparation for the depositions. See, e.g., Schedule B (“All
documents which deponent has consulted or reviewed or plans to consult in preparation for his
or her deposition and has relied upon or will rely upon for testimony on the above deposition
topic.”); see also Feb. 11, 2011 email from D. Ko to Facebook (identifying case law requiring
party designating 30(b)(6) witness to produce documents reviewed by designee in preparation
for the deposition prior to the deposition). Both deponents testified that they reviewed
documents in advance of the depositions.

       For example, during the monetization deposition, Facebook’s designee testified that she
prepared notes and conducted Facebook Workplace chats with other Facebook employees in
preparation for her deposition, and consulted and relied on both in responding to questions
during the deposition. See, e.g., Lee Tr. 21:23-22:3; 36:16-37:2; 214:17-215:22. Plaintiffs also
request that these materials be produced immediately.

        Finally, at 7:15 p.m. on the eve of the monetization deposition, Facebook produced to
Plaintiffs a document prepared by Facebook’s finance team reflecting Facebook’s revenue by
channel from 2012-2017, as well as definitions for each revenue channel. This document contains
responsive information to Plaintiffs’ second requests for production Nos. 14-17 and is the type of
basic financial information of the company Plaintiffs have requested for nearly 15 months.
Plaintiffs reiterate their request that Facebook produce this information for the entire class period,
January 1, 2007 to present.


                                                        Regards,




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